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         Exhibit D-11
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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

                                       :
SUSAN BYRNE,                           :
    Plaintiff                          :
                                       :      CIVIL CASE NO.: 3:17-cv-01104-VLB
v.                                     :
                                       :
YALE UNIVERSITY,                       :
     Defendant                         :      DECEMBER 30, 2019
                                       :

                    DEFENDANT’S MOTION IN LIMINE TO PRECLUDE
                      ADMISSION OF CLIMATE REVIEW REPORT

      Defendant Yale University (“Yale”) hereby moves in limine to preclude

admission of the Climate Review Report, which is a 48-page document replete with

summaries of information provided by 57 individuals to two investigators.           It

should be excluded for three reasons: First, the document includes at least two

layers of hearsay – that which the interviewees told the interviewers and that which

the interviewers wrote in the Report. Second, the Report is not relevant to any

issue at trial, because, to the extent Plaintiff alleges that her discussions with the

interviewers included protected activity, Plaintiff has no basis – apart from her own

speculation – for suggesting that the three Professors who voted against her

tenure bid knew what she had told the interviewers. Accordingly, even if she did

engage in protected activity when she spoke to the interviewers, those accused of

acting with retaliatory motive did not know of the protected activity. Third and

finally, admission of the Report would be unduly prejudicial to Yale, with any

probative value outweighed by unfair prejudice, in that the Report contains
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numerous negative opinions and anecdotes that have nothing at all to do with

Plaintiff or any issue in this case.

   I.       Relevant Background

         Plaintiff, a former Associate Professor at Yale, asserts claims of retaliation,

negligent misrepresentation, and breach of contract in connection with her

department’s negative vote on her tenure case in February 2016.

   II.      Climate Review Report

         Plaintiff’s Trial Exhibit List includes the Climate Review Report. Pl’s Ex. 7.

The Report is inadmissible hearsay, irrelevant, and unduly prejudice to Yale, and,

accordingly, it should not be admitted at trial.

         Hearsay

         Because the Report is a summary by two investigators of information they

received from 57 people they interviewed, it is, by definition, hearsay. Fed. R. Evid.

801. In fact, it is double hearsay, and, as such, it is inadmissible. Even if one or

both investigators were to testify at trial, and thus eliminate one layer of hearsay,

it is inescapable that the Report contains unsworn statements of people who are

not testifying at trial, and thus it remains inadmissible hearsay.

         Moreover, the Report is not a business record that could be admitted as

non-hearsay. The Climate Review was an unusual undertaking, concerned events

long in the past, and was not done pursuant to any “regular practice” of such

reviews at Yale. See, e.g., Fed. R. Evid. 803(6).

         Irrelevant

         Fed. R. Evid. 401 provides that evidence is relevant if it has the tendency to




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make a fact of consequence in determining the action more or less probable than

it would be without the evidence. The 48-page Climate Review Report does not

meet this relevancy standard because it contains extensive, extremely detailed

information about matters wholly unrelated to the issues in this case. For example,

13 pages of the Report concern input from lectors and graduate students, which

has nothing to do with Plaintiff’s claims. Moreover, the Report references concerns

about departmental funding, events in 2006 before Plaintiff worked at Yale, issues

concerning the hiring of another faculty member’s spouse, and other such

unrelated matters. The Report is so wide-ranging in the topics it covers, through

the reporting of scores of witnesses’ recollections and impressions, that it is

simply not relevant to this case.

       To the extent Plaintiff argues that the Report reflects “protected activity”

insofar as she claims to have reported alleged discrimination to the interviewers,

such argument should be rejected. Without conceding that Plaintiff’s statements

to the interviewers, as reflected in the Report, constitute “protected activity,”

Plaintiff’s argument fails because she has not established, nor could she, that the

three professors who voted against her tenure case knew what she had told the

Climate Review investigators. See, e.g., Nicolia v. GM, LLC, 2019 U.S. Dist. LEXIS

172217 (W.D.N.Y. Oct. 3, 2019) (plaintiff must prove decisionmaker knew of

protected activity). Moreover, at her deposition, Plaintiff testified that she had no

information to suggest that the Climate Review investigators had advised Roberto

Gonzalez Echevarria of any complaints by Plaintiff to the investigators. Byrne

Depo., p. 57.




                                         3
      Case 3:17-cv-01104-VLB Document 98-11 Filed 12/30/19 Page 5 of 11




       Because Plaintiff cannot establish that the alleged retaliators knew of any

“protected activity” in which she engaged with the Climate Review investigators,

the Report itself has no relevance. Fed. R. Evid. 401.

       Unduly Prejudicial to Yale

       Finally, even if the Climate Review Report were deemed relevant non-

hearsay, it still should be excluded because its probative value, if any, is

outweighed by the risk of undue prejudice to Yale arising from the Report’s

discussion of highly sensitive issues having nothing to do with Plaintiff or her

tenure case. Fed. R. Evid. 403. Indeed, the Report refers to witnesses’ impressions

of various disputes and long-standing grievances among senior faculty in the

Department of Spanish and Portuguese, issues with graduate students, opinions

on collegiality and other general issues, and other such matters that have no place

in this case. Admission of the Report would be especially inappropriate in light of

the fact witnesses interviewed as part of the Climate Review were advised that they

could participate anonymously; accordingly, names were not attached to many

statements, and statements were presented only in general terms where necessary

to protect confidentiality. These considerations make the Report even less useful

as a source of any information, and thus its probative value, if it has any, is

diminished further.

       Yale asks the Court to guard against an apparent intention by Plaintiff to

turn this trial into a general referendum on the Department of Spanish and

Portuguese. Plaintiff must not be permitted to use evidence of intra-departmental




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personality, doctrinal, historic, and other perceived conflicts as a substitute for

evidence of her legal claims.

   III.      Conclusion

          For all these reasons, Defendant respectfully moves to exclude the Climate

Review Report from evidence.



                                        DEFENDANT,
                                        YALE UNIVERSITY

                                  By:   /s/ Victoria Woodin Chavey
                                        Victoria Woodin Chavey (ct14242)
                                        David C. Salazar-Austin (ct25546)
                                        Jackson Lewis PC
                                        90 State House Square, 8th Floor
                                        Hartford, CT 06103
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                                        Fax: (860) 247-1330




                                           5
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                               CERTIFICATION OF SERVICE

                  I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                                /s/ David C. Salazar-Austin
                                                David C. Salazar-Austin




4815-2223-4031, v. 1




                                            6
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                            SUSAN BYRNE vs YALE UNIVERSITY
                                 Susan Byrne on 10/19/2018

   1                       UNITED STATES DISTRICT COURT

   2                                      for the

   3                           DISTRICT OF CONNECTICUT

   4

   5
          SUSAN BYRNE,                         } Civil Case Number:
   6         Plaintiff,                        } 3:17-cv-01104-VLB
                                               }
   7                 vs.                       J CONFIDENTIAL TESTIMONY
                                               ) Page 211 through 214
   8      YALE UNIVERSITY,                     l
             Defendant.                        }
   9

 10

 11

 12

 13           DEPOSITION OF: Susan Byrne
              TIME:          10:05 a.m.
 14           DATE:          October 19, 2018
              HELD AT:       Jackson Lewis, PC
 15                          90 State House Square - 8th Floor
                             Hartford, Connecticut
 16

 17

 18

 19

 20

 21

 22
                    Reporter:  Annette Brown, LSR, No. 0009
 23                    Brandon Huseby Reporting & Video
                               249 Pearl Street
 24                     Hartford, Connecticut 06103
                           Telephone:  860.549.1850
 25                           Fax:  860.549.1537


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                           SUSAN BYRNE vs YALE UNIVERSITY
                                 Susan Byrne on I0/19/2018

   1     do that to an undergraduate student was with an
   2     undergraduate student named Julie Blindauer.                         She was
   3     majoring in Spanish.             Roberto, Julie, and I were the
   4     only three there.           We were in the general area of
   5     call it a lobby of the department, and Roberto had
   6     that same grin on his face as he was doing that to
   7     Julie's hair, and he said, Isn't she pretty or isn't
   8     she beautiful, some word like that, and I said, I
   9     think what's beautiful is what's inside that head
 10      trying to turn him away from that particular creepy
 11      aspect of it.
 12                So if Roberto were asked -- and this is how I
 13      would mentally conceive it.                If Roberto were asked
 14      did you ever do this to Julie Blindauer and did Sue
 15      Byrne say this, then he would know who had told them
 16      because the only three of us who were there were
 17      those three.
 18          Q     So it could have been Julie or you in your
 19      example there?
 20          A     Correct.
 21          Q     So do you have any information that the
 22      climate interviewers told Roberto directly what you
 23      had told the interviewers?
 24          A     I don't have any information, no.
 25          Q     So you told the interviewers that Roberto had

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                                         SUSAN BYRNE vs YALE UNIVERSITY
                                              Susan Byrne on I 0/19/2018

   1                                              JURAT

   2

   3

   4       I, SUSAN BYRNE, do hereby certify that the foregoing
           testimony given by me on October 19, 2018, is true
   5       and accurate, including any corrections noted on the
           corrections page, to the best of my knowledge and
   6       belief.

   7

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         ( 0 ,,,,,v/-y    of- Cfo.l'/c_
 13
          At P·eit,ltvson,,NV in said county of                                          l.:_/c,,rf<,
 14       this 7'1'" day of l)e(\lhtb•e..v , 2018,                                       personally
          appeared, SUSAN BYRNE, and she made                                            oath to the truth
 15       of the foregoing corrections by her                                            subscribed.

 16

 17

 18       Before me, Fn:v,,K. L..               ';/'t,&C,MoJr.,_,,         ,   Notary Public.

 19

 20       My Commission Expires: :[L111 e,                           II,   cOl"L

 21
                                                              r,r.~W\'Sllll~~'U)

 22                                                                                 FRANK L. ST. GERMAIJ
                                                                                   Notruy Public - state of Nevada
                                                                                          County of Clark
 23                                                                            •     APPT. NO. 18-3336-1
                                                                                   My /1/Jp. Expires June 11, 2022
                                                                               ~~
 24

 25


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                           SUSAN BYRNE vs YALE UNIVERSITY
                                Susan Byrne on 10/19/2018

   1                               CERTIFICATION

   2         I, ANNETTE F. BROWN, LSR and Notary Public within
          and for the State of Connecticut, do hereby certify
   3      that I took the deposition of SUSAN BYRNE, on October
          19, 2018.
   4
             I further certify that the above-named deponent
   5      was by me duly sworn to testify to the truth, the
          whole truth and nothing but the truth concerning
   6      his/her knowledge in the matter of the case of, BYRNE
          v. YALE UNIVERSITY.
   7
             I further certify that the testimony was taken by
   8      me stenographically and reduced to typewritten form
          under my direction by means of COMPUTER ASSISTED
   9      TRANSCRIPTION; and I further certify that said
          deposition is a true record of the testimony given by
 10       said witness.

 11            I further certify that I am neither counsel for,
          related to, nor employed by any of the parties to the
 12       action in which this deposition was taken; and
          further, that I am not a relative or employee of any
 13       attorney or counsel employed by the parties hereto,
          nor financially or otherwise interested in the
 14       outcome of the action.

 15          WITNESS my hand and my seal this 2nd day of
          November, 2018.
 16

 17

 18

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 21
                   Annette Brown, LSR No. 00009
 22                Notary Public
                   My Commission Expires:
 23                November 30, 2019

 24

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